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                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

TOM BEGRES,                          CASE NO. 2:17-cv-11136-GAD-RSW
        Plaintiff,

      vs.                            Judge Gershwin A. Drain
                                     Magistrate Judge R. Steven Whalen
EXPERIAN INFORMATION
SOLUTIONS, INC., an Ohio
corporation; EQUIFAX
INFORMATION SERVICES, LLC,
a Georgia company; TRANS UNION,
LLC, a Delaware limited liability
company; and BARCLAYS BANK
DELAWARE, a Delaware company;
             Defendants.
 _________________________________________________________________

   STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
          AS TO DEFENDANT TRANS UNION, LLC, ONLY
__________________________________________________________________

      Plaintiff Tom Begres, by counsel, and Defendant Trans Union, LLC, by

counsel, having agreed to the entry of this Stipulation And Order Of Dismissal

With Prejudice dismissing all claims of Plaintiff Tom Begres against Defendant

Trans Union, LLC only, with prejudice, AND THE COURT, having been duly

advised, NOW FINDS that the same should be granted.

      IT IS, THEREFORE, ORDERED that all claims of Plaintiff Tom Begres

against Defendant Trans Union, LLC only are dismissed, with prejudice. Plaintiff

and Trans Union, LLC shall each bear their own costs and attorneys’ fees.



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Date: August 28, 2017             /s/Gershwin A Drain
                                  United States District Court Judge



                                  I consent to the entry of this order:



Date: August 25, 2017             s/    Carl Schwartz (with consent)
                                  Gary D. Nitzkin, Esq.
                                  Carl Schwartz, Esq.
                                  Michigan Consumer Credit Lawyers
                                  22142 West Nine Mile Road
                                  Southfield, MI 48033
                                  Telephone: 248-353-2882
                                  Fax: 248-213-6397
                                  E-Mail: gary@micreditlawyer.com
                                          carl@micreditlawyer.com

                                  Counsel for Plaintiff Tom Begres



Date: August 25, 2017             s/    Scott E. Brady
                                  Laura K. Rang, Esq. (IN #26238-49-A)
                                  Scott E. Brady, Esq. (IN #30534-49)
                                  Schuckit & Associates, P.C.
                                  4545 Northwestern Drive
                                  Zionsville, IN 46077
                                  Telephone: 317-363-2400
                                  Fax: 317-363-2257
                                  E-Mail: lrang@schuckitlaw.com
                                  E-Mail: sbrady@schuckitlaw.com

                                  Counsel for Trans Union, LLC




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                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

TOM BEGRES,                         CASE NO. 2:17-cv-11136-GAD-RSW
        Plaintiff,

      vs.                           Judge Gershwin A. Drain
                                    Magistrate Judge R. Steven Whalen
EXPERIAN INFORMATION
SOLUTIONS, INC., an Ohio
corporation; EQUIFAX
INFORMATION SERVICES, LLC,
a Georgia company; TRANS UNION,
LLC, a Delaware limited liability
company; and BARCLAYS BANK
DELAWARE, a Delaware company;
             Defendants.
 __________________________________________________________________

                    CERTIFICATE OF SERVICE
__________________________________________________________________

       I, Scott E. Brady, hereby certify that on the 25th day of August, 2017, I
electronically submitted the foregoing using the ECF system and a copy of the
same was sent via e-mail to the following counsel of record:

Gary D. Nitzkin, Esq.                     Carl Schwartz, Esq.
gary@micreditlawyer.com                   carl@micreditlawyer.com
Sidney L. Frank, Esq.                     Tamara E. Fraser, Esq.
slfrank@wwrplaw.com                       tefraser@wwrplaw.com
Jonathan Louis Kirkland, Esq.             William D. Gilbride, Jr., Esq.
jlkirkland@abbottnicholson.com            wdgilbride@abbottnicholon.com
Jordan S. Bolton, Esq.
jbolton@clarkhill.com

      I further certify that on the 25th day of August, 2017, a copy of the
foregoing was sent via U.S., First Class Mail, postage prepaid to the following
non-ECF participants:


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None.


                                 s/    Scott E. Brady
                                 Laura K. Rang, Esq. (IN #26238-49-A)
                                 Scott E. Brady, Esq. (IN #30534-49)
                                 Schuckit & Associates, P.C.
                                 4545 Northwestern Drive
                                 Zionsville, IN 46077
                                 Telephone: 317-363-2400
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                                 Counsel for Trans Union, LLC




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